            Case 2:13-cr-00039-JAD-VCF          Document 224         Filed 03/01/17     Page 1 of 4



                                      UNITED STATES DISTRICT COURT
1
                                             DISTRICT OF NEVADA
2
                                                         ***
3
      UNITED STATES OF AMERICA,
4                                                              Case No. 2:13–cr–39–JAD–VCF
                             Plaintiff,
5     vs.                                                      ORDER
6
      RAMON DESAGE; et.al.,
7
                             Defendants.
8

9             Before the court are Desage’s motion for discovery (ECF No. 150) and the Government’s
10
     response (ECF No. 185). As of February 28, 2017, Desage has not filed a reply. For the reasons stated
11
     below, Desage’s motion is granted in part and denied in part.
12
                                                    I. Discussion
13
     a.       Witness List
14
              “Although [Federal] Rule [of Criminal Procedure] 16 does not expressly mandate the disclose of
15
     nonexpert witnesses, it is no inconsistent with Rule 16 and Rule 2 for a court to order the government to
16

17
     produce a list of such witnesses as a matter of its discretion.” United States v. W.R. Grace, 526 F.3d

18   499, 510 (9th Cir. 2008)(en banc)(emphasis in original). “The rule does not entitle the defendant to a

19   list of such witnesses, but by the same token it does not suggest that a district court is prohibited from

20   ordering such disclosure.” Id. at 511 (emphasis in original).

21            The Government has agreed to provide a complete list of witnesses approximately 7 days before
22
     trial at Calendar Call. (ECF No. 185 at 7) Given the complexity of this action and the number of
23
     potential witnesses involved, the court orders that the Government provide its witness list 30 days before
24

25

                                                           1
           Case 2:13-cr-00039-JAD-VCF                Document 224      Filed 03/01/17      Page 2 of 4



     trial. See W.R. Grace, 526 F.3d at 514 (holding that it was not an abuse of the trial court’s discretion to
1
     order disclosure of a nonexpert witness list one year before trial).
2

3
     b.        Exhibit List and Copies

4              As with nonexpert witness disclosures, Rule 16 does not mandate nor does it prohibit pretrial

5    disclosure of the Government’s exhibit list. Id. In its response, the Government agreed to provide an

6    itemized exhibit list at Calendar Call. (ECF No. 185 at 7) Given the large number of documents
7    involved in this action, the court orders that the Government provide its itemized exhibit list and
8
     appropriate copies 30 days before trial.
9
     c.            Other Requested Discovery
10
                         a.    Bill of Particulars
11
               “The court may direct the government to file a bill of particulars.” FED. R. CRIM. P. 7(f).
12
               The purpose of a bill of particulars are threefold: ‘[1] To inform the defendant of the
13             nature of the charges against him with sufficient precision to enable him to prepare for
               trial, [2] to avoid or minimize the danger of surprise at the time of trial, and [3] to enable
14
               him to plead his acquittal or conviction in bar of another prosecution for the same offense
               when the indictment itself is too vague and indefinite for such purposes.’
15

16             United States v. Ayers, 924 F.2d 1468, 1483 (9th Cir. 1991)(quoting United States v.

17   Giese, 597 F.2d 1170, 1180 (9th Cir. 1979). After reviewing the operative indictment, the court

18   concludes a bill of particulars is unnecessary. Desage has sufficient information about his

19   alleged victims, his alleged conduct, and the timeframe for which he is being indicted in order to
20   understand the charges against him and prepare for trial. (ECF No. 60)
21
                         b.    Identities of Unindicted Co-conspirators
22
               Desage does not cite any specific authority in support of his request for the Government to
23
     identify any unindicted co-conspirators. Accordingly, this request is denied.
24
     /// /// ///
25

                                                             2
         Case 2:13-cr-00039-JAD-VCF            Document 224        Filed 03/01/17     Page 3 of 4



                    c.     Documents that Fall Within the Enumerated Categories of Rule 16
1
            Federal Rule of Criminal Procedure 16 “grants defendants a broad right to discovery.” United
2

3
     States v. Doe, 705 F.2d 1134, 1150 (9th Cir. 2013). “To receive discovery under this Rule, the

4    defendant must make a threshold showing of materiality, which requires a presentation of facts which

5    would tend to show that the Government is in possession of information helpful to the defense.” Id.

6           Desage has not identified the Rule 16 material he believes the Government is withholding.
7    Consequently, he has not made mandatory materiality showing. Id. His blanket request for Rule 16
8
     material is denied.
9
                    d.     Brady, Giglio, and Jencks Act material
10
            The Government asserts that it has met or will meet its obligations under Brady, Giglio and the
11
     Jencks Act. (ECF No. 185) Other than the tax returns at issue in a separate motion, Desage has not
12
     identified any Brady, Giglio, or Jencks Act material that he believes the Government is withholding.
13
     (ECF No. 150) Desage’s request in this motion is denied.
14
            The court is aware that Desage filed a separate motion that is limited to possible Brady and
15

16   Giglio material. (ECF No. 218) The court ordered the Government to submit the requested material for

17   in camera inspection. (ECF No. 223) The Government has submitted the material and the court has

18   reviewed it. A hearing will be set on Desage’s other discovery motion (ECF No. 218).

19                  e.     Federal Rule of Evidence 404(b) Material
20          The Government states that it will provide Rule 404(b) material at the appropriate time during
21
     trial. (ECF No. 185) Desage does not cite any specific authority in support of his request for the pretrial
22
     disclosure of Rule 404(b) evidence. Accordingly, this request is denied.
23
            ACCORDINGLY, and for good cause shown,
24

25

                                                          3
         Case 2:13-cr-00039-JAD-VCF          Document 224        Filed 03/01/17     Page 4 of 4



             IT IS HEREBY ORDERED that Desage’s motion for discovery (ECF No. 150) is GRANTED in
1
     part and DENIED in part.
2

3
             IT IS FURTHER ORDERED that at least 30 days before trial is set to begin, the Government must

4    provide Desage and the court with an itemized exhibit list, copies of its exhibits, if applicable, and a

5    witness list.

6            IT IS FURTHER ORDERED that all other discovery requests made in the motion (ECF No. 150)
7    are DENIED.
8
             IT IS SO ORDERED.
9
             DATED this 1st day of March, 2017.
10

11

12                                                              _________________________
                                                                CAM FERENBACH
13                                                              UNITED STATES MAGISTRATE JUDGE

14

15

16

17

18

19

20

21

22

23

24

25

                                                        4
